Case 2:24-cv-05205-FMO-MAA            Document 22   Filed 10/03/24   Page 1 of 25 Page ID
                                            #:825



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     “JACKIE” LACEY, in her individual
  13 capacity; and JACQUELYN “JACKIE”
     LACEY as trustee of the D and J Lacey
  14 Family Trust dated November 23, 2016
  15
  16                            UNITED STATES DISTRICT COURT
  17                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  18
  19 JACQUELYN “JACKIE” LACEY,                       Case No. 2:24-cv-05205-FMO-MAA
     in her individual capacity; and
  20 JACQUELYN “JACKIE” LACEY                        Judge Fernando M. Olguin, Courtroom
  21 as trustee of the D and J Lacey Family          6D
     Trust dated November 23, 2016,
  22                                                 PLAINTIFF’S OPPOSITION TO
                   Plaintiffs,                       DEFENDANT STATE FARM
  23                                                 GENERAL INSURANCE
            vs.                                      COMPANY’S MOTION TO
  24                                                 COMPEL ARBITRATION
  25 STATE FARM GENERAL
     INSURANCE COMPANY, an Illinois                  Date:           October 24, 2024
  26 corporation, and DOES 1-50, inclusive,          Time:           10:00 a.m.
                                                     Courtroom:      6D
  27                    Defendants.
  28
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA                    Document 22             Filed 10/03/24          Page 2 of 25 Page ID
                                                    #:826



   1                                              TABLE OF CONTENTS
   2 I.      INTRODUCTION ................................................................................................ 5
   3 II. RELEVANT BACKGROUND ............................................................................ 6
   4          A. The Underlying Action .................................................................................. 6
   5          B. The Present Case ........................................................................................... 8
   6          C. State Farm’s Extraneous and Misleading Assertions .................................... 8
   7 III. THE COURT SHOULD DENY THE MOTION ............................................... 10
   8      A. Plaintiff Alleges Claims For Breach of the Duty to Defend, Including State
             Farm’s Express Refusal to Defend Mr. Lacey During the Earlier Stages of
   9         the Underlying Litigation ............................................................................ 10
  10      B. Directly Controlling Authority Holds that Plaintiff’s Claim Regarding
  11                 Breach of the Duty to Defend is Not Arbitrable and Must be Adjudicated
  12                 Before any Potential Arbitration ................................................................. 10
                       1. The Intergulf/Janopaul Line of Authority ......................................... 10
  13
                       2. Federal Courts and Leading Treatises Consistently Acknowledge and
  14
                          Apply the Principles Set forth in Janopaul and Intergulf .................. 13
  15
                       3. Plaintiff’s Claims in this Action Put the Case Squarely Within the
  16                      Intergulf/Janopaul Line of Authority ................................................. 16
  17                   4. The Cases on Which State Farm Relies are Dated, Distinguishable,
  18                      Inapposite, and Do Not Alter the Fact That Any Section 2860
                          Arbitration Would Be Inappropriate at This Juncture as a Matter of
  19                      Law ..................................................................................................... 18
  20          C. The Law is Clear that State Farm Cannot Simply “Self-Adjudicate”
  21             Plaintiff’s Claims for Breach of the Duty to Defend .................................. 22
  22 IV. CONCLUSION ................................................................................................... 25
  23
  24
  25
  26
  27
  28
                                                                    -2-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA                  Document 22           Filed 10/03/24         Page 3 of 25 Page ID
                                                  #:827



   1                                         TABLE OF AUTHORITIES
   2
                                                     Cases
   3 Arrowood Indemn. Co. v. Bel Air Mart,
   4    No. 11-0976, 2013 WL 2434830 (E.D. Cal. 2013) ............................................... 21
   5 Associated Indus. Ins. Co. v. San Joaquin Hill Transp. Corridor Agency,
        No. 18-1776, 2023 WL 2357292 (C.D. Cal. Feb. 7, 2023) ....................... 13, 17, 24
   6 Atmel Corp. v. St. Paul Fire & Marine Ins. Co.,
   7    426 F. Supp. 2d 1039 (N.D. Cal. 2005)........................................................... 11, 12
   8 Brandt v. Superior Court,
        37 Cal. 3d 813 (1985) .............................................................................................. 9
   9 Browne George Ross LLP v. Lexington Ins. Co.,
  10    No. 12-2148, 2012 WL 13012720 (C.D. Cal. May 29, 2012) ........................ 15, 17
  11 Compulink Mgmt. Ctr. v. St. Paul Fire & Marine Ins.,
        169 Cal. App. 4th 289 (2008) ................................................................................ 19
  12 Fontana Union Water Co. v. Arch Ins. Co.,
  13    No. 16-0059, 2016 WL 9045966 (C.D. Cal. Apr. 13, 2016)................................. 21
  14 Fuller-Austin Insulation Co. v. Highlands Ins. Co.,
        135 Cal. App. 4th 958 (2006) ................................................................................ 11
  15 Housing Group v. PMA Capital Ins. Co.,
  16    193 Cal. App. 4th 1150 (2011) .................................................................. 12, 17, 24
  17 In re Marriage of Cornejo,
        13 Cal.4th 381 (1996) ............................................................................................ 18
  18 Intergulf Development LLC v. Superior Court,
  19    183 Cal. App. 4th 16 (2010) ........................................................................... passim
  20 Janopaul + Block Companies, LLC v. Superior Court,
        200 Cal. App. 4th 1239 (2011) ....................................................................... passim
  21 Long v. Century Indemnity Co.,
  22    163 Cal. App. 4th 1460 (2008) .............................................................................. 19
  23 Pepsi-Cola Metro. Bottling Co. v. Ins. Co. of N. Am.,
        No. 10-2696, 2010 WL 10875087 (C.D. Cal. Dec. 28, 2010) .............................. 20
  24 Philadelphia Indemn. Ins. Co. v. IEC Corp.,
  25    No. 16-0295, 2017 WL 3579703 (C.D. Cal. Jul. 12, 2017) ................ 15, 17, 19, 24
  26 Steelcase Inc. v. Nationwide Indemn. Co.,
        No. 14-6291, 2015 WL 12828056 (C.D. Cal. Feb. 10, 2015) ............. 14, 17, 23, 24
  27 Travelers Indemn. Co. v. Walking U. Ranch, LLC,
  28    No. 18-2482, 2018 WL 3768421 (C.D. Cal. Aug. 6, 2018) ........................... passim
                                                        -3-
                  PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
        508430836.5
Case 2:24-cv-05205-FMO-MAA                    Document 22            Filed 10/03/24          Page 4 of 25 Page ID
                                                    #:828



   1 Truck Ins. Exch. v. Superior Court,
   2   51 Cal. App. 4th 985 (1996) .................................................................................. 18
     Ulloa v. McMillin Real Estate & Mortgage, Inc.,
   3   149 Cal. App. 4th 333 (2007) ................................................................................ 18
   4 Wallis v. Centennial Ins. Co.,
   5   No. 08-2558, 2010 WL 2612734 (E.D. Cal. Jun. 25, 2010) ................................. 20

   6                                               Statutes
   7 Cal. Civ. Code § 2860......................................................................................... passim
   8
                                                            Rules
   9 Fed. R. Civ. P. 7 ......................................................................................................... 24
  10
  11                                                    Treatises

  12 1 Cal. Ins. Law Dictionary & Desk Ref. § C75 (2024 ed.) ....................................... 16
  13 39A Cal. Jur. 3d, Insurance Contracts ....................................................................... 16
     Croskey, et al., Cal. Ins. Litig. (The Rutter Group 2024).................................... 14, 15
  14 Tuft, et al., Cal. Prof. Resp. & Liab. (The Rutter Group 2024)................................. 16
  15
  16
  17
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  20
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  22
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  27
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                                                                   -4-
                  PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
        508430836.5
Case 2:24-cv-05205-FMO-MAA           Document 22      Filed 10/03/24   Page 5 of 25 Page ID
                                           #:829



   1     I.     INTRODUCTION
   2            State Farm’s attempt to recast this litigation as a “rate dispute” flies in the
   3 face of the complaint. This is an insurance coverage action against State Farm
   4 arising out of an underlying civil lawsuit against Mrs. Lacey and her late husband,
   5 David Lacey (with Mrs. Lacey asserting claims as his successor). Advised that
   6 defending Jackie Lacey alone would be cheaper, State Farm refused to satisfy its
   7 obligation to defend both of its insureds, thus imperiling their defense, causing
   8 significant monetary and emotional distress damages and forcing Mrs. Lacey to sue
   9 State Farm for breach of contract and bad faith. As alleged in Plaintiff’s complaint,
  10 when State Farm belatedly agreed to defend Mr. Lacey—five months into the
  11 case—it did so only partially and prospectively, leaving him to shoulder the burden
  12 of the remainder of his defense, including all of his fees and costs incurred thus far.
  13 As to his fees and costs going forward, State Farm improperly invoked Section 2860
  14 of the California Civil Code (hereafter “Section 2860”) as a basis to refuse to pay
  15 the fees actually incurred. As a matter of law, an insurer who breaches the duty to
  16 defend by failing to defend its insured at the outset of a potentially covered case
  17 forfeits whatever benefits Section 2860 may have otherwise provided that insurer,
  18 had it complied with its obligations. Moreover, on top of these issues, State Farm
  19 engaged in prolonged delays and refusals in paying defense fees and engaged in a
  20 variety of other improper conduct regarding the defense of the action, as set forth in
  21 Plaintiff’s complaint in this action.
  22            Apparently seeking to avoid adjudication of its breach of the duty to defend
  23 Mr. Lacey, State Farm seeks to recharacterize the dispute as merely about hourly
  24 rates and invoices, and on that basis moves to compel arbitration under Section
  25 2860. As detailed herein, the motion is legally unmerited and at best premature.
  26 California law is clear that where an insured pleads a claim for breach of the duty to
  27 defend based on an insurer’s refusal of a tender and/or delay in paying defense fees
  28 (both of which are alleged here), the Court must adjudicate those threshold claims
                                              -5-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22     Filed 10/03/24   Page 6 of 25 Page ID
                                         #:830



   1 before any potential arbitration under Section 2860. The logic behind this legal
   2 principle is clear and compelling: First, the existence or breach of an insurer’s duty
   3 to defend is simply not within the scope of a Section 2860 arbitration, and must be
   4 decided by the Court. Second, if the insured prevails on its claim that the insurer
   5 wrongfully failed to defend, then—as a matter of law—the insurer is simply not
   6 entitled to the benefits of Section 2860, including its rate-capping and arbitration
   7 provisions. In other words, the Court’s determination of the threshold duty-to-
   8 defend issues may very well moot the Section 2860 issue altogether. And, as a
   9 corollary, sending the dispute to arbitration first, before the insurer’s entitlement to
  10 the benefits of Section 2860 has even been established, would be wasteful and
  11 illogical, as it could very well result in conducting an arbitration proceeding that is
  12 rendered a complete nullity after the fact.
  13            In its Motion, State Farm simply disregards the foregoing legal principles and
  14 directly controlling authority, relying instead on various dated, wholly
  15 distinguishable and inapposite cases. None of the decisions State Farm cites alters
  16 the clear requirement under California law that adjudication of Plaintiff’s claim for
  17 breach of the duty to defend must precede any potential Section 2860 arbitration,
  18 and the Court should deny the Motion accordingly.
  19
  20   II.      RELEVANT BACKGROUND
  21            A. The Underlying Action
  22            The underlying plaintiffs are demonstrators who converged in the early
  23 morning hours—along with approximately 30 other individuals—to confront the
  24 Laceys in their own home.1 (See Dkt. #1-1 (Complaint), ¶ 20.) After gathering
  25 outside, the protestors repeatedly rang the doorbell, at which point Mr. Lacey,
  26
  27   1
       Jackie Lacey was serving as the sitting District Attorney of Los Angeles and was
  28 the target of dozens of protests during the civil unrest of 2020.
                                               -6-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA          Document 22    Filed 10/03/24   Page 7 of 25 Page ID
                                          #:831



   1 fearful for the safety of his family, opened his front door (holding a gun that he
   2 lawfully possessed) and instructed them to leave. (Id.) Mr. Lacey never fired his
   3 gun, nor made any physical contact with any of the protesters at any time. (Id.) He
   4 had no intention of harming them, and no expectation that they would suffer any of
   5 their alleged “bodily harm” as a result of his actions (nor would any reasonable
   6 person); as alleged in the complaint, he simply wanted them to leave the property.
   7 (Id.) They left—and thereafter sued the Laceys over the incident (the “Underlying
   8 Action”). (Id. at ¶¶ 20-21.)
   9            The lawsuit implicated coverage for both of the Laceys under their
  10 Homeowners and Umbrella policies, and they tendered the claim to their insurer,
  11 State Farm. (Id. at ¶¶ 16-18, 22, 24-27.) State Farm acknowledged coverage for
  12 Mrs. Lacey and agreed to defend her, but issued an outright denial of coverage to
  13 Mr. Lacey, wrongfully refusing to defend him even under a reservation of rights.
  14 (Id. at ¶¶ 24-27.) Mr. Lacey, abandoned by his insurer, thus had no choice but to
  15 retain counsel on his own and at his own expense, and defended himself with no
  16 help from State Farm. (Id. at ¶¶ 24-35.)
  17            Five months later, after the underlying plaintiffs had twice amended their
  18 complaint, State Farm finally and belatedly agreed to defend Mr. Lacey (subject to a
  19 reservation of rights)—based on the same essential factual allegations as in the
  20 original complaint—but only prospectively, leaving him responsible for all of his
  21 attorney’s fees and costs incurred thus far. (Id. at ¶ 32.) Moreover, as to his fees
  22 going forward, State Farm improperly invoked Section 2860 as a basis to pay only
  23 limited “panel counsel” rates (i.e., $225/hr.), leaving Mr. Lacey to pay the
  24 significant difference between those rates and the market rates actually charged by
  25 his counsel. (Id. at ¶ 32.) As detailed herein, however, an insurer who breaches the
  26 duty to defend by failing to defend its insured at the outset of a potentially covered
  27 case forfeits the benefits of Section 2860, as a matter of law—including any ability
  28 to limit the fees of the insured’s independent counsel to so-called “panel rates.”
                                                -7-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22     Filed 10/03/24   Page 8 of 25 Page ID
                                         #:832



   1            Moreover, even apart from the foregoing issues, State Farm engaged in
   2 prolonged delays and refusals in paying Mr. Lacey’s defense fees (even at the
   3 improperly capped rates) and engaged in a variety of improper conduct regarding
   4 the defense of the action, including interfering with Mr. Lacey’s defense. (Id. at ¶¶
   5 33, 38-50.)
   6            B. The Present Case
   7            Mr. Lacey died in the midst of the underlying litigation, leaving Mrs. Lacey,
   8 as his successor, to administer the remainder of the defense of the case against him.
   9 As the underlying litigation was coming to an end, Mrs. Lacey filed this action
  10 against State Farm for breach of contract and bad faith in state court on May 21,
  11 2024. (See generally Complaint.) Central to her claims is State Farm’s wrongful
  12 denial of coverage to Mr. Lacey and refusal to defend him from the outset of the
  13 underlying action, amounting to a breach of State Farm’s duty to defend and its
  14 forfeiture of any ability to invoke the benefits of Section 2860, as a matter law. (See
  15 Id. at ¶¶ 27-32, 54, 51-61.) State Farm thereafter answered the complaint, removed
  16 the case to this Court (see Dkt. #1), and now moves to compel arbitration under
  17 Section 2860.
  18            C. State Farm’s Extraneous and Misleading Assertions
  19            With its Motion, State Farm has offered numerous inaccurate or misleading
  20 contentions that have little or no relevance to the Motion and, in many instances,
  21 seemingly no purpose other than to smear Plaintiff’s counsel. Plaintiff does not
  22 intend (and lacks the space in its brief) to respond comprehensively to all such
  23 matters, but briefly refutes here a few of the more egregious notions.
  24            To begin, State Farm’s bombastic comparisons of the fees it paid toward the
  25 defense of Mrs. Lacey, on the one hand, versus Mr. Lacey, on the other (see, e.g.,
  26 Motion, pp., 3:8-10 (“State Farm paid more than $800,000 to defend Mr. Lacey—
  27 nearly twice [the] estimated budget through trial, and more than ten times what it
  28 paid Mrs. Lacey’s counsel”)), are utterly devoid of context and highly misleading.
                                               -8-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA          Document 22      Filed 10/03/24   Page 9 of 25 Page ID
                                          #:833



   1 Among other things, the bulk of the defense work for Mrs. Lacey was performed not
   2 by Mr. Safarian (the counsel retained and paid by State Farm to defend her), but
   3 rather by other lawyers engaged in her defense, paid for by the County of Los
   4 Angeles (i.e., Mira Hashmall and her colleagues at Miller Barondess), given the
   5 nexus of the claims against Mrs. Lacey and her capacity as District Attorney. (See
   6 Declaration of Ryan Q. Keech filed herewith, ¶ 4.) Moreover, State Farm was
   7 paying Mr. Safarian at the insurer’s panel rates, which are drastically lower than
   8 Miller Barondess rates. (See id.)
   9            Additionally, State Farm’s repeated suggestion throughout its Motion that
  10 Plaintiff and/or her counsel “agreed” to accept only $225 per hour for the defense of
  11 Mr. Lacey is also simply not accurate. (See id. at ¶ 6.)
  12            Further, State Farm’s repeated assertion that “the only compensatory damages
  13 requested are the $2.2 million in Cumis fees” is, again, false. Separate and apart
  14 from defense fees and costs, Plaintiff has alleged damages for various other items,
  15 including “consequential damages flowing from Defendant’s bad faith conduct
  16 including, without limitation, emotional distress damages,” as well as
  17 “[c]ompensatory damages in the form of attorney’s fees and costs incurred by
  18 Plaintiffs in pursuing insurance coverage and policy benefits, including, without
  19 limitation, in bringing and prosecuting this civil action, as a result of Defendant’s
  20 bad faith conduct,” under Brandt v. Superior Court, 37 Cal. 3d 813 (1985). (See
  21 Dkt. #17-4, pp. 224:19-22, 225:3-5.)2
  22            Finally, Plaintiff rejects State Farm’s allegations of “inconsistent and
  23 duplicative” time entries, based upon a couple of cherry-picked, out-of-context
  24 examples—all of which, by State Farm’s own admission, is irrelevant to this
  25
  26   2
      Moreover, State Farm cannot properly label as “Cumis fees” the defense fees and
  27 costs that Mr. Lacey incurred during the first five months of the case—for which
  28 State Farm has refused to provide him with any defense, to this day.
                                              -9-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA          Document 22 Filed 10/03/24        Page 10 of 25 Page ID
                                          #:834



   1 motion.
   2
   3 III.       THE COURT SHOULD DENY THE MOTION
   4       A. Plaintiff Alleges Claims For Breach of the Duty to Defend, Including
   5            State Farm’s Express Refusal to Defend Mr. Lacey During the Earlier
   6            Stages of the Underlying Litigation
   7            As a preliminary matter, Plaintiff reiterates that her claims in this action are
   8 based on a variety of misconduct by State Farm—but first and foremost is the
   9 insurer’s outright refusal to defend Mr. Lacey throughout the initial stages of the
  10 Underlying Action, thereby amounting to a breach of the duty to defend Mr. Lacey
  11 and bad faith. (See Complaint, e.g., ¶¶ 27-32, 54, 51-61.) Thereafter, State Farm
  12 compounded its breach of the duty to defend by delaying and refusing to pay
  13 invoices even after it belatedly and partially agreed to defend Mr. Lacey. (Id. at ¶
  14 33.)
  15            B. Directly Controlling Authority Holds that Plaintiff’s Claim Regarding
  16                 Breach of the Duty to Defend is Not Arbitrable and Must be
  17                 Adjudicated Before any Potential Arbitration
  18                 1. The Intergulf/Janopaul Line of Authority
  19            California law is clear that where, as here, an insured pleads a claim for
  20 breach of the duty to defend based on an insurer’s refusal of a tender and/or
  21 untimely provision of a defense, the Court must adjudicate that threshold claim
  22 before any potential arbitration under Section 2860. This principle was clearly
  23 established in the California Court of Appeal decisions Intergulf Development LLC
  24 v. Superior Court, 183 Cal. App. 4th 16 (2010) and Janopaul + Block Companies,
  25 LLC v. Superior Court, 200 Cal. App. 4th 1239 (2011)—which holdings have been
  26 followed by numerous state and federal courts in the years that have followed, as
  27 well as the leading treatises on California insurance coverage law.
  28            Intergulf involved a policyholder (Intergulf) suing its insurer (Interstate) over
                                                  -10-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22 Filed 10/03/24      Page 11 of 25 Page ID
                                         #:835



   1 the latter’s allegedly delinquent and inadequate provision of a defense to Intergulf in
   2 an underlying action. The insurer moved to compel arbitration under Section 2860
   3 of what it characterized as a “Cumis fee dispute.” 183 Cal. App. 4th at 19. Intergulf
   4 opposed on the grounds that its claims for breach of the duty to defend and bad faith
   5 had not yet been resolved, and thus the insurer had not yet demonstrated an
   6 entitlement to the benefits of Section 2860. Id. The trial court granted the insurer’s
   7 motion. Id. The Court of Appeal initially declined to hear Intergulf’s writ petition
   8 for interlocutory review—but the California Supreme Court subsequently granted
   9 writ relief and ordered the Court of Appeal to address the issue on the merits. Id. at
  10 20.
  11            Following remand from the California Supreme Court, the Court of Appeal
  12 reversed the trial court’s ruling. In so holding, the court rejected the insurer’s
  13 framing of the case as a mere “dispute over the amount Interstate should pay
  14 independent counsel under section 2860, subdivision (c).” Id. at 20. The court
  15 reasoned that “[u]nreasonable delay in paying policy benefits or paying less than the
  16 amount due is actionable withholding of benefits which may constitute a breach of
  17 contract as well as bad faith giving rise to damages in tort.” Id. Importantly, the
  18 court further noted that “[b]reach of the duty to defend also results in the
  19 insurer’s forfeiture of the right to control defense of the action or settlement,
  20 including the ability to take advantage of the protections and limitations set
  21 forth in section 2860.” Id. (emphasis added) (citing Fuller-Austin Insulation Co. v.
  22 Highlands Ins. Co., 135 Cal. App. 4th 958, 984 (2006); Atmel Corp. v. St. Paul Fire
  23 & Marine Ins. Co., 426 F. Supp. 2d 1039, 1047 (N.D. Cal. 2005)).
  24            Accordingly, the court noted that “Intergulf’s entitlement to damages for
  25 breach of contract and bad faith turns on: (1) whether Interstate owed Intergulf a
  26 duty to defend in the first instance; and (2) whether Interstate breached that duty by
  27 failing to defend Intergulf ‘immediately’ and ‘entirely’ on tender of the
  28 defense.” Id. at 21 (emphasis added, citations omitted). The court thus held that the
                                             -11-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA        Document 22 Filed 10/03/24      Page 12 of 25 Page ID
                                        #:836



   1 trial court abused its discretion in prematurely compelling arbitration, since
   2 “[n]either of these questions had been resolved at the time,” and “[a] later
   3 determination that Interstate acted in bad faith or breached its duty to defend would
   4 place the section 2860, subdivision (c) procedures out of Interstate’s reach.” Id.
   5            Janopaul was decided soon thereafter, and reached the same essential
   6 conclusion. There, the insured sued its insurer (St. Paul), alleging that it breached
   7 the subject insurance policies and engaged in bad faith due to its delay in
   8 acknowledging its defense obligations regarding an underlying action against the
   9 insured. Janopaul, 200 Cal. App. 4th at 1248. “As a result of such conduct, [the
  10 insured] alleged St. Paul has forfeited and/or is estopped from asserting...any rights
  11 under section 2860...” Id. The trial court granted the insurer’s petition to compel
  12 arbitration. The Court of Appeal reversed, holding: “[W]hen, as here...an insured
  13 raises in a bad faith action the duty to defend, breach and bad faith by an insurer,
  14 those issues must be resolved first in the trial court before any subdivision (c)
  15 arbitration because a determination of one or more of those issues in favor of the
  16 insured may eliminate altogether the need for arbitration under section 2860.” Id. at
  17 1252 (citing Intergulf Development v. Superior Court, 183 Cal. App. 4th 16 (2010);
  18 Atmel Corp. v. St. Paul Fire & Marine, 426 F. Supp. 2d 1039, 1047 (N.D. Cal.
  19 2005) (“as numerous courts have recognized, ‘[t]o take advantage of the provisions
  20 of [section] 2860, an insurer must meet its duty to defend and accept tender of the
  21 insured’s defense, subject to a reservation of rights.’”)); see also Housing Group v.
  22 PMA Capital Ins. Co., 193 Cal. App. 4th 1150, 1157 (2011) (“an acceptance of [the
  23 Insurer’s] position —that ‘insurers always can take advantage of [section] 2860
  24 despite immediately failing to meet their burden to defend’—would encourage
  25 insurers to reject their Cumis obligations for as long as they chose because they
  26 knew they could invoke the limitations and remedies of section 2860 at any time”).
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                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA          Document 22 Filed 10/03/24       Page 13 of 25 Page ID
                                          #:837



   1                 2. Federal Courts and Leading Treatises Consistently Acknowledge and
   2                    Apply the Principles Set forth in Janopaul and Intergulf
   3            Numerous federal courts in this District construing California law have
   4 applied the clear and sound legal (and logical) principles established in Intergulf and
   5 Janopaul to reject insurers’ premature motions to compel arbitration under Section
   6 2860—yet State Farm fails to mention any of these rulings (and instead relies on
   7 wholly distinguishable and inapposite decisions, as discussed in subsection III.B.4,
   8 below).
   9            One recent example is Associated Indus. Ins. Co. v. San Joaquin Hill Transp.
  10 Corridor Agency, No. 18-1776, 2023 WL 2357292 (C.D. Cal. Feb. 7, 2023),
  11 wherein an insured alleged that its insurer “breached the duty to defend and the
  12 implied covenant of good faith and fair dealing by failing to promptly and
  13 completely pay for the [Insureds] defense costs, including ‘engag[ing] in
  14 unreasonable delays in paying expenses.” Id. at *2. The court preliminarily
  15 observed that “even when Cumis counsel is retained, an insurer cannot ‘take
  16 advantage of the protections and limitations set forth in Section 2860’ if the insurer
  17 breaches its duty to defend.” Id. at *3 (quoting Janopaul, 200 Cal. App. 4th at
  18 1249). The court further noted that “disputes that exceed the scope of fees are not
  19 subject to mandatory arbitration under Section 2860.” Id. (citing Intergulf, 183 Cal.
  20 App. 4th at 20). The court rejected the insurer’s contention that the gravamen of the
  21 case was a mere “Cumis fee dispute that has been ‘recast’ as a breach of the duty to
  22 defend and the implied covenant,” holding: “Contrary to [the Insurer’s]
  23 characterization of the contested claims as a fee dispute, the Court finds that the
  24 ‘gravamen of [these claims] is bad faith and breach of contract’ connected to
  25 Associated’s failure to defend the [Insureds] promptly and completely.” Id. at
  26 *3 (emphasis added) (citing Intergulf, 183 Cal. App. 4th at 20). As such, the court
  27 denied the insurer’s motion to compel arbitration, holding that “the breach of the
  28 duty to defend and bad faith claims must be resolved first as [the Insurer] may have
                                            -13-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22 Filed 10/03/24        Page 14 of 25 Page ID
                                         #:838



   1 forfeited its right to compel arbitration of any Cumis fee dispute.” Id. at *4.
   2            The Associated court’s adherence to the principles outlined in Intergulf and
   3 Janopaul is no surprise, given that the dispute was governed by California law (as is
   4 this case), and those decisions are directly on point. Indeed, numerous other
   5 decisions from this District have issued similar holdings, denying premature
   6 motions to compel arbitration under Section 2860.
   7            For example, the court in Travelers Indemn. Co. v. Walking U. Ranch, LLC,
   8 No. 18-2482, 2018 WL 3768421 (C.D. Cal. Aug. 6, 2018) denied an insurer’s
   9 motion to compel arbitration as premature and potentially barred by the outcome of
  10 duty-to-defend issues that had yet to be adjudicated:
  11                  [T]he Insureds’ counterclaims in this case allege that
                      Travelers breached the Policies by failing to provide the
  12
                      Insureds with a timely defense of the Underlying Action...and
  13                  by failing to act in good faith towards the Insureds in carrying
                      out the obligations and responsibilities under the Policies... In
  14
                      particular, the Insureds allege that Travelers ‘erroneous[ly]
  15                  and unreasonab[ly]’ denied that it had a duty to defend the
                      Insureds, and refused to timely and unconditionally defend the
  16
                      Insureds in the Underlying Action insofar as defense counsel
  17                  was not associated into the Underlying Action until March 3,
  18                  2018—74 days after the Insureds tendered their defense to
                      Travelers. ... [T]he Court will resolve these claims first...
  19
  20 Travelers, 2018 WL 3768421, at *10 (citing Janopaul, 200 Cal. App. 4th 1239 at
  21 1250; Croskey, et al., Cal. Ins. Litig. (The Rutter Group 2015) ¶ 7:810.8)).
  22            The court in Steelcase Inc. v. Nationwide Indemn. Co., No. 14-6291, 2015

  23 WL 12828056 (C.D. Cal. Feb. 10, 2015) held similarly:
  24           In many cases, including this one, the fee dispute is only a
               part of the plaintiff’s case. For instance, Steelcase partly
  25           premises liability on Nationwide’s refusal to pay the
  26           attorney’s full bill—a rate dispute. But Steelcase’s complaint
               also focuses on Nationwide’s alleged tardiness in financing
  27           Steelcase’s defense... Intergulf...prevents fee arbitration until
  28           after resolving threshold issues that could affect the propriety
                                            -14-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22 Filed 10/03/24        Page 15 of 25 Page ID
                                         #:839



   1                  of Section 2860 arbitration. This case sits in the same posture.
                      Steelcase alleged that Nationwide’s delay or failure to
   2
                      provide non-conflicted counsel—apart from an alleged
   3                  breach for underpayment—violated its duty. As in Integulf,
                      the insurer will not be entitled to arbitration under Section
   4
                      2860 if Steelcase prevails on that claim. [Citations.] Thus,
   5                  the resolution of these claims is logically antecedent to
                      arbitration. ... Indeed, immediate arbitration would risk the
   6
                      Intergulf paradox just described: if the parties arbitrated now,
   7                  the Court would adjudicate the duty to defend claim
   8                  afterwards; if the Court found in Steelcase’s favor, arbitration
                      would have been improper. Thus, the Court would have
   9                  compelled arbitration on a basis that it later found to be
  10                  unwarranted. Such a result is illogical and, as Intergulf
                      observed, ought to be avoided. [Citations.] ... Therefore, the
  11                  Court cannot compel arbitration at this juncture.
  12 Id. at *2-4.
  13         Other decisions of this District are in accord. See, e.g., Philadelphia Indemn.
  14 Ins. Co. v. IEC Corp., No. 16-0295, 2017 WL 3579703, at *2-3 (C.D. Cal. Jul. 12,
  15 2017) (denying insurer’s motion to compel arbitration under Section 2860 as
  16 premature, given presence of insured’s claim for breach of duty to defend, an
  17 antecedent issue that must first be adjudicated by the court); see also Browne
  18 George Ross LLP v. Lexington Ins. Co., No. 12-2148, 2012 WL 13012720, at *2
  19 (C.D. Cal. May 29, 2012) (“‘The Court concludes that if plaintiff is able to establish
  20 a breach of the duty to defend, its damages are not limited by California Civil Code
  21 § 2860. ... [A]s numerous courts have recognized, ‘[t]o take advantage of the
  22 provisions of § 2860, an insurer must meet its duty to defend and accept tender of
  23 the insured’s defense, subject to a reservation of rights.’’”) (citations omitted).
  24            Indeed, the leading treatise on California insurance law, authored by Justice
  25 H. Walter Croskey, references the rule of Intergulf and Janopaul as black-letter law:
  26 “When the insured has sued the insurer for bad faith breach of the duty to defend,
  27 issues of breach of duty and bad faith must be resolved in the trial court before the
  28 § 2860 fee arbitration.” Croskey, et al., Cal. Ins. Litig. (The Rutter Group 2024)
                                               -15-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA           Document 22 Filed 10/03/24      Page 16 of 25 Page ID
                                           #:840



   1 § 15:353 (citing Janopaul and Intergulf); see also Travelers, 2018 WL 3768421, at
   2 *9 (“This approach is also endorsed by Justice Croskey, who notes that an ‘insurer
   3 is not entitled to arbitrate a fee dispute where there is also a dispute as to whether it
   4 breached its duty to defend in the first place’”). Other California law treatises are
   5 likewise in accord. See, e.g., 39A Cal. Jur. 3d, Insurance Contracts § 586 (“Where
   6 an insured raises the duty to defend, breach, and bad faith by an insurer, in a bad
   7 faith action, those issues must be resolved first in the trial court before any
   8 arbitration as to the fees.”) (citations omitted); 1 Cal. Ins. Law Dictionary & Desk
   9 Ref. § C75 (2024 ed.) (“Where an insured raises in a bad faith action a duty to
  10 defend, breach in bad faith by an insurer, those issues must be resolved first in the
  11 trial court before any 2860(c) arbitration. This is because a determination of one or
  12 more of those issues in favor of the insured may eliminate altogether the need for
  13 arbitration under § 2860.”) (citations omitted); Tuft, et al., Cal. Prof. Resp. & Liab.
  14 (The Rutter Group 2024) § 5:391.3b (“Contested threshold issues such as the
  15 insurer’s duty to defend, breach of that duty and bad faith must be resolved by the
  16 trial court before the fee dispute issues are arbitrated because a determination of
  17 one or more of those issues may completely eliminate the need for fee arbitration.”)
  18 (citations omitted).
  19                 3. Plaintiff’s Claims in this Action Put the Case Squarely Within the
  20                    Intergulf/Janopaul Line of Authority
  21            As noted above, Plaintiff has alleged claims for breach of contract and bad
  22 faith against State Farm due to, inter alia, the insurer’s outright refusal to defend
  23 Mr. Lacey throughout the earlier stages of the Underlying Action. Specifically,
  24 Plaintiff has alleged that State Farm had a duty to defend Mr. Lacey from the outset
  25 of the case, and that State Farm expressly denied any obligation to provide him a
  26 defense, up until the Second Amended Complaint was filed. Even then, State Farm
  27 only agreed to provide a partial, belated and incomplete defense (subject to a
  28 reservation of rights) going forward—i.e., to this day, State Farm has failed and
                                             -16-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22 Filed 10/03/24       Page 17 of 25 Page ID
                                         #:841



   1 refused to provide any defense to Mr. Lacey for the earlier stages of the case.
   2 Moreover, even after its belated and incomplete acknowledgement of a defense
   3 obligation, State Farm engaged in prolonged and unreasonable delays in payment.
   4 Plaintiff has thus alleged claims for breach of contract and bad faith, owing, in
   5 significant part, to State Farm’s breach of its duty to defend.
   6            This puts the case squarely within the Intergulf/Janopaul line of authority
   7 discussed above. See, e.g., Intergulf, 183 Cal. App. 4th at 19-20 (adjudication of
   8 insured’s claim for breach of duty to defend must precede any potential Section
   9 2860 arbitration); Janopaul, 200 Cal. App. 4th at 1248-52 (“the duty to defend,
  10 breach and bad faith by an insurer... must be resolved first in the trial court before
  11 any [2860] arbitration because a determination of one or more of those issues in
  12 favor of the insured may eliminate altogether the need for arbitration”); Associated,
  13 2023 WL 2357292, at *2-4 (same); Travelers, 2018 WL 3768421, at *10 (same);
  14 Philadelphia, 2017 WL 3579703, at *2-3 (sane); Steelcase, 2015 WL 12828056, at
  15 *2-4 (denying motion to compel arbitration given “logically antecedent” issues
  16 concerning duty to defend, even though case also included claims for alleged
  17 “underpayment” of fees); see also Browne George, 2012 WL 13012720, at *2.
  18            Indeed, in many of the cases discussed above—including Janopaul itself—the
  19 insured’s theory that the insurer breached its duty to defend turned largely or
  20 entirely on the insurer’s mere delay in issuing payments, yet the courts (correctly)
  21 found that to be a cognizable basis for breach of the duty to defend that, if proven,
  22 would strip the insurer of any ability to invoke Section 2860, and thus that a motion
  23 to compel arbitration was premature. See, e.g., Janopaul, 200 Cal. App. 4th at
  24 1248-52; Associated, 2023 WL 2357292, at *2-4; Travelers, 2018 WL 3768421; see
  25 also Housing Group, 193 Cal. App. 4th at 1157. Here, by contrast, Plaintiff’s
  26 claims concerning State Farm’s breach of the duty to defend are not merely
  27 predicated on delays in payment (although Plaintiff has also alleged severe delays in
  28 payment by State Farm, see, e.g., Complaint ¶ 33)—rather, Plaintiff here has alleged
                                            -17-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA          Document 22 Filed 10/03/24      Page 18 of 25 Page ID
                                          #:842



   1 State Farm’s complete refusal to provide any defense at all to Mr. Lacey for the
   2 earlier stages of the Underlying Action, prior to the Second Amended Complaint,
   3 thereby breaching its duty to defend. (See Complaint, ¶¶ 27-32, 54, 51-61.) As
   4 such, the rule of the Intergulf, Janopaul and their progeny applies with even greater
   5 force and clarity here.
   6                 4. The Cases on Which State Farm Relies are Dated, Distinguishable,
   7                    Inapposite, and Do Not Alter the Fact That Any Section 2860
   8                    Arbitration Would Be Inappropriate at This Juncture as a Matter of
   9                    Law
  10            The cases State Farm cites in its motion do not alter the foregoing analysis, as
  11 those decisions are readily distinguishable, inapposite, and indeed in several
  12 instances support Plaintiff’s position.
  13            To begin, State Farm cites Truck Ins. Exch. v. Superior Court, 51 Cal. App.
  14 4th 985 (1996) for the supposed proposition that “California courts compel
  15 arbitration under Section 2860 where an insurer is providing a defense through
  16 independent counsel, even if an insured alleges coverage disputes exist.” State
  17 Farm’s reliance on Truck, however, is entirely misplaced, as that case did not even
  18 involve a contested motion to compel arbitration, but rather a stipulation by the
  19 parties to submit to a Section 2860 arbitration in the midst of the coverage litigation.
  20 See Truck, 51 Cal. App. 4th at 990 (“[The insureds] advised the court they had filed
  21 a first amended cross-complaint that expanded their theories beyond attorneys fees
  22 to include breach of the covenant of good faith and fair dealing, fraud, and negligent
  23 misrepresentation. However, they stated they were ‘agreeable to arbitration of its
  24 ‘attorney’s fees’ dispute with [the insurer] as the scope of Section 2860(c) permits’
  25 during the pendency of the action.”) (emphasis added). “It is axiomatic that cases
  26 are not authority for propositions not considered.” In re Marriage of Cornejo, 13
  27 Cal.4th 381, 388 (1996); see also Ulloa v. McMillin Real Estate & Mortgage, Inc.,
  28 149 Cal. App. 4th 333, 340 (2007) (“[t]he holding of a decision is limited by the
                                             -18-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22 Filed 10/03/24       Page 19 of 25 Page ID
                                         #:843



   1 facts of the case being decided”) (emphasis added, citations omitted). Indeed, the
   2 Philadelphia decision discussed above denied the insurer’s motion to compel
   3 arbitration and rejected its misguided reliance on Truck for this very same reason.
   4 See Philadelphia, 2017 WL 3579703, at *3 (“[T]he insured in Truck Insurance
   5 Exchange was ‘agreeable to arbitration of its ‘attorney’s fees’ dispute. ... That is not
   6 the case here.”). Moreover, Truck precedes Intergulf and Janopaul by more than 14
   7 years.
   8            Similarly misplaced is State Farm’s reliance on Compulink Mgmt. Ctr. v. St.
   9 Paul Fire & Marine Ins., 169 Cal. App. 4th 289 (2008) and Long v. Century
  10 Indemnity Co., 163 Cal. App. 4th 1460 (2008), for multiple reasons. First, as the
  11 Intergulf court observed, “unlike the case before us, Compulink and Long did not
  12 involve the preliminary question of duty to defend.” Intergulf, 183 Cal. App. 4th at
  13 21. For that reason alone the cases are inapposite here. Moreover, neither
  14 Compulink nor Long says anything at all about the proper timing of a Section 2860
  15 arbitration in an action where both non-arbitrable and potentially arbitrable claims
  16 are alleged—an issue that was later addressed conclusively in Intergulf and
  17 Janopaul. On this point, as the Travelers court aptly observed:
  18                  As an initial matter, Compulink stands for the proposition that
                      § 2860’s arbitration provision still applies to attorneys’ fees
  19
                      disputes in actions that include other non-arbitrable issues.
  20                  However, Compulink does not provide guidance as to
                      when an attorneys’ fees dispute should be resolved when
  21
                      certain non-arbitrable issues, such as bad faith, are
  22                  present. With respect to this point, the California Court of
                      Appeal in Janopaul reasoned that when an insured files a “bad
  23
                      faith action for breach of contract, tortious breach of the
  24                  implied covenant of good faith and fair dealing[,] and for
  25                  declaratory relief,” these issues must be decided by the court
                      before ordering the parties to arbitrate the fee dispute.
  26                  Janopaul, 200 Cal.App.4th 1239 at 1249. The Court of
  27                  Appeal reasoned that its decision “merely requires a
                      preliminary determination in the trial court whether [insurer]
  28                  had a duty to defend [insured] and if so, whether [insurer]
                                                   -19-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22 Filed 10/03/24     Page 20 of 25 Page ID
                                         #:844



   1                  breached that duty and engaged in bad faith conduct.” Id. at
                      1250. The Court of Appeal noted that ... its decision simply
   2
                      clarified that an insurer is required to move to arbitrate a
   3                  fee dispute under § 2860 after the preliminary issues of
                      breach of duty to defend and bad faith conduct are
   4
                      resolved. Id.
   5
   6 Travelers, 2018 WL 3768421, at *9-10 (boldface added, italics in original).
   7            Likewise, State Farm’s reliance on Pepsi-Cola Metro. Bottling Co. v. Ins. Co.
   8 of N. Am., No. 10-2696, 2010 WL 10875087 (C.D. Cal. Dec. 28, 2010) and Wallis v.
   9 Centennial Ins. Co., No. 08-2558, 2010 WL 2612734 (E.D. Cal. Jun. 25, 2010)—
  10 both of which precede Janopaul—is wholly misplaced. As the Travelers court
  11 observed, neither Pepsi-Cola nor Wallis involved a claim by the insured that the
  12 insurer refused the insured’s tender of defense in the underlying action, as we have
  13 here. Specifically, “[T]he Court [in Pepsi-Cola] noted that because the insured ‘did
  14 not allege that [the insurer] failed to timely acknowledge [the insured’s] right to
  15 independent counsel under § 2860(c)...the dispute regarding whether [the insurer]
  16 improperly reduced [Cumis counsel’s] billable hours and cut [counsel’s] hourly rate
  17 is subject to § 2860(c) arbitration.’” Travelers, 2018 WL 3768421, at *10 (quoting
  18 Pepsi-Cola, 2010 WL 10875087, at *10-14) (emphasis added). Similarly, in Wallis,
  19 “the District Court concluded that mandatory arbitration pursuant to § 2860 was
  20 warranted insofar as the insurer did not dispute that it owed the insureds a duty to
  21 defend.” Travelers, 2018 WL 3768421, at *10 (citing Wallis, 2010 WL 2612734, at
  22 *2) (emphasis added). That is simply not our case. Rather, as discussed above,
  23 State Farm rejected Mr. Lacey’s tender of defense and refused to provide him with
  24 any defense at all for the earlier stages of the Underlying Action—a denial on which
  25 Travelers stands, to this day, and which is a core component of Plaintiff’s claims for
  26 breach of contract and bad faith. Thus, this case is entirely distinguishable from
  27 Pepsi-Cola and Wallis, and State Farm’s motion to compel arbitration must be
  28 denied. See Travelers, 2018 WL 3768421, at *10 (“Unlike the allegations in Pepsi-
                                         -20-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA        Document 22 Filed 10/03/24       Page 21 of 25 Page ID
                                        #:845



   1 Cola and Wallis, the Insureds’ counterclaims in this case allege that Travelers
   2 breached the Policies by failing to provide the Insureds with a timely defense of the
   3 Underlying Action”) (citing Janopaul, 200 Cal. App. 4th at 1250).
   4            Equally unavailing is State Farm’s reliance on Arrowood Indemn. Co. v. Bel
   5 Air Mart, No. 11-0976, 2013 WL 2434830 (E.D. Cal. 2013), for much the same
   6 reason. There, the insurer timely acknowledged its defense obligation and provided
   7 a defense from the outset of the underlying case—unlike here, where State Farm
   8 expressly denied coverage to Mr. Lacey for the earlier stages of the Underlying
   9 Action.
  10            Finally, the case of Fontana Union Water Co. v. Arch Ins. Co., No. 16-0059,
  11 2016 WL 9045966 (C.D. Cal. Apr. 13, 2016), also cited by State Farm, has
  12 absolutely no application here. As with Arrowood—and in stark contrast to the case
  13 at bar—the insurer in Fontana promptly agreed to defend the insured, from the
  14 outset of the case, subject to a reservation of rights, thereby entitling the insured to
  15 independent counsel. Id. at *1. There was no dispute whatsoever about the duty to
  16 defend, or even an allegation that the insurer delayed in paying defense fees. See id.
  17 Rather, the parties’ entire dispute concerned hourly rates, and allegedly excessive
  18 billings. See id. at *2. Accordingly, the court concluded that “[t]he breach of
  19 contract and bad faith allegations derive from the fee dispute. In other words, if
  20 there were no fee dispute, there would be no basis for the breach of contract or bad
  21 faith allegations.” Id. at *3. The only issue the court decided was whether Section
  22 2860 arbitration was limited solely to hourly rate issues (as the insured argued) or,
  23 conversely, whether it also encompassed disputes concerning excessive billings (as
  24 the insurer contended). The court held that both categories were within the scope of
  25 the statute, and thus compelled arbitration. Id. at *3. Tellingly, Fontana properly
  26 distinguished Intergulf on the ground that “in Intergulf, whether the insurer had a
  27 duty to defend the insured had not been resolved,” whereas in Fontana, “there is no
  28 dispute that Arch had a duty to defend Plaintiffs.” As discussed above, Plaintiff has
                                             -21-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA          Document 22 Filed 10/03/24      Page 22 of 25 Page ID
                                          #:846



   1 alleged claims against State Farm for breach of its duty to defend Mr. Lacey, and
   2 thus Fontana is inapposite.
   3            In sum, none of the cases cited by State Farm alter the inescapable legal and
   4 logical conclusion that State Farm’s motion to compel arbitration must be denied, at
   5 least at this juncture, given Plaintiff’s pending claims for breach of the duty to
   6 defend and bad faith, as detailed in the preceding sections.
   7            C. The Law is Clear that State Farm Cannot Simply “Self-Adjudicate”
   8                 Plaintiff’s Claims for Breach of the Duty to Defend
   9            As discussed above, Plaintiff has pleaded claims against State Farm in this
  10 action for breach of contract and bad faith due to, inter alia, State Farm’s express
  11 refusal to defend Mr. Lacey during the earlier stages of the Underlying Action,
  12 leaving him to retain counsel on his own, at his own expense (see, e.g., Complaint
  13 ¶¶ 24-35) (as well as a multitude of other misconduct thereafter, see id. at ¶¶ 33, 38-
  14 50). As detailed in Sections III.B.1 through III.B.4, above, the presence of these
  15 claims poses a bright-line legal and logical obstacle to compelling a Section 2860
  16 arbitration at this juncture—indeed, if Plaintiff prevails on these claims, then State
  17 Farm is not entitled to the benefits of Section 2860 at all, including its provisions for
  18 rate-capping and arbitration, as a matter of law.
  19            State Farm has answered the complaint. (Dkt. #1-4.) Plaintiff’s claims are
  20 thus now at issue, and the case has been pending for well over four months. At no
  21 point has State Farm filed a motion to dismiss, a motion for judgment on the
  22 pleadings, or a motion for summary judgment seeking any adjudication of Plaintiff’s
  23 claims.
  24            Instead, State Farm simply opines in passing, in this motion to compel
  25 arbitration, that the claims based upon breach of the duty to defend have no merit,
  26 proclaiming that “State Farm properly declined Mr. Lacey’s tender of defense of the
  27 original Complaint because it did not create the potential of coverage.” (See, e.g.,
  28 Motion, p. 18:13-14.) Obviously, Plaintiff adamantly disagrees—hence this lawsuit.
                                            -22-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA        Document 22 Filed 10/03/24        Page 23 of 25 Page ID
                                        #:847



   1 And at further risk of stating the obvious, a litigant is not entitled to “self-
   2 adjudicate” a claim against it in this manner, however inconvenient the claim’s
   3 presence may be to their litigation objectives. The decision in Steelcase Inc. v.
   4 Nationwide Indemn. Co., No. 14-6291, 2015 WL 12828056 (C.D. Cal. Feb. 10,
   5 2015) is directly on point—and emphatically rejected an insurer’s improper attempt
   6 to do exactly what State Farm has done here:
   7
                      In essence, Nationwide says it is not liable insofar that
   8
                      Steelcase complains about the timing and scope of
   9                  Nationwide’s defense. That is a merits argument in disguise.
                      And neither the defendant nor the Court can push aside the
  10
                      plaintiff’s claims in such a cavalier manner—a motion to
  11                  compel arbitration does not provide a proper vehicle for
                      resolving the merits of Steelcase’s claims. At this time,
  12
                      those claims exist.
  13
  14                  Therefore, the Court cannot compel arbitration at this
                      juncture. The pending claim for breach of the duty to defend
  15                  based on Nationwide’s alleged untimeliness imposes
  16                  uncertainty as to whether Section 2860 will apply. It would
                      therefore be illogical to compel arbitration under Section
  17                  2860 until the predicate issues are resolved.
  18
       Id. at * 3-4 (emphasis added).
  19
                Indeed, State Farm is well-aware that it must first seek—and win—
  20
       adjudication of Plaintiff’s claims for breach of the duty to defend as a prerequisite to
  21
       any potential Section 2860 arbitration: State Farm acknowledged as much in the
  22
       parties’ meet-and-confer discussions under Rule 26, as well as in the parties’ Joint
  23
       Report filed with the Court, wherein State Farm stated that it “anticipates filing (1) a
  24
       motion for judgment on the pleadings regarding the duty to defend David Lacey
  25
       before tender of defense of the Second Amended Complaint in the Abdullah Action,
  26
       which can be resolved based on the allegations of Mrs. Lacey’s Complaint and
  27
       documents incorporated by reference; [and then] (2) a motion to compel arbitration
  28
                                                 -23-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA         Document 22 Filed 10/03/24       Page 24 of 25 Page ID
                                         #:848



   1 and to stay the litigation pending completion of arbitration under California Civil
   2 Code section 2860.” (Dkt. #12, pp. 18:28-19:5.) Inexplicably, however, State Farm
   3 never filed the first motion, nor has it offered any explanation for its stark departure
   4 from that approach. The only reasonable inference to be drawn is that State Farm
   5 ultimately determined it was unlikely to win a dispositive motion on the duty to
   6 defend, and thus decided not to tempt fate and simply leapt ahead (improperly) to
   7 this ill-advised motion to compel arbitration.3
   8            In any event, as discussed at length in the preceding sections, the pendency of
   9 Plaintiff’s claims for breach of the duty to defend and bad faith precludes State
  10 Farm’s motion to compel arbitration at this juncture, as a matter of law. See
  11 Intergulf, 183 Cal. App. 4th at 19-20; Janopaul, 200 Cal. App. 4th at 1248-52;
  12 Housing Group, 193 Cal. App. 4th at 1157; Associated, 2023 WL 2357292, at *2-4;
  13 Travelers, 2018 WL 3768421, at *10; Steelcase, 2015 WL 12828056, at *2-4;
  14 Philadelphia, 2017 WL 3579703, at *2-3.
  15
  16
  17
  18
  19
  20
  21   3
         Obviously, the merits of Plaintiff’s claims—including those concerning State
  22   Farm’s breaches of its duty to defend—are not before the Court on this motion to
       compel arbitration. See, e.g., Fed. R. Civ. P. 7(b)(1) (motions must “state with
  23   particularity the grounds for seeking the order; and ... state the relief sought”); see
  24   also Steelcase, 2015 WL 12828056, at *3-4 (“a motion to compel arbitration does
       not provide a proper vehicle for resolving the merits of [the insured’s] claims”).
  25   Moreover, Plaintiff lacks sufficient space here to brief the many reasons why State
  26   Farm’s conclusion that it had no duty to defend Mr. Lacey until the Second
       Amended Complaint is absolutely faulty as a matter of California law. Plaintiff
  27   respectfully reserves all rights to brief such issues if and when a dispositive motion
  28   on the duty to defend is brought.
                                                   -24-
                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
Case 2:24-cv-05205-FMO-MAA          Document 22 Filed 10/03/24        Page 25 of 25 Page ID
                                          #:849



   1 IV.        CONCLUSION
   2            For the foregoing reasons, the Court should deny the Motion in its entirety.
   3
   4                                           Respectfully submitted,
   5
                                               ELLIS GEORGE LLP
   6                                              Eric M. George
                                                  Trent Copeland
   7
   8                                           K&L GATES LLP
   9                                              Ryan Q. Keech
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  13 Date: October 3, 2024                     By: s/ Kevin S. Asfour
                                                     Kevin S. Asfour
  14
  15                                           Attorneys for Plaintiff Jacquelyn “Jackie”
                                               Lacey
  16
  17
  18
                      CERTIFICATE OF COMPLIANCE WITH L.R. 11-6.1
  19
                The undersigned, counsel of record for Plaintiff, certifies that this brief
  20
       contains 6,931 words, which complies with the word limit of L.R. 11-6.1.
  21
  22
  23 Date: October 3, 2024                     By: s/ Kevin S. Asfour
                                                     Kevin S. Asfour
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                 PLAINTIFF’S OPPOSITION TO MOTION TO COMPEL ARBITRATION
       508430836.5
